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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )    Case No. 1:12CR00044-004
                                                   )
v.                                                 )    OPINION AND ORDER
                                                   )
MICHAEL W. DUNLAP,                                 )    By: James P. Jones
                                                   )    United States District Judge
                  Defendant.                       )

      Randy Ramseyer, Assistant United States Attorney, Abingdon, Virginia, for
United States; James M. Cagle, Charleston, West Virginia, and Steven D. Smith,
Blacksburg, Virginia, for Defendant.

       Defendant Michael W. Dunlap objects to the Report and Recommendation

by Magistrate Judge Pamela Meade Sargent recommending that I deny his motion

to dismiss the travel fraud charges against him. I must review the aspects of the

report to which Dunlap objects de novo, and either “accept, reject, or modify, in

whole or in part, the findings or recommendations” of the magistrate judge.

28 U.S.C.A. § 636(b)(1)(C) (West 2012).

       The statute under which Dunlap is charged in counts 51-74 of the

Superseding Indictment states, in relevant part:

       Whoever transports, transmits, or transfers in interstate or foreign
       commerce any goods, wares, merchandise, securities or money, of the
       value of $5,000 or more, knowing the same to have been stolen,
       converted, or taken by fraud . . . [s]hall be fined under this title or
       imprisoned not more than ten years, or both.
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18 U.S.C.A. § 2314 (West 2000). In the subject counts, Dunlap is accused of

securing equipment and supply orders from coal mining businesses, for which

inflated invoices were prepared, and receiving kickbacks for securing those orders.

The government asserts that it only needs to establish that the total value of each

such transaction was at least $5,000.            Dunlap argues that the value of the

fraudulently obtained property consists of the kickback amounts alone and does not

include the value of the equipment and supplies ordered, because it is not alleged

that the equipment and supplies were not actually delivered. Dunlap argues that

the government cannot meet the statute’s $5,000 requirement because it is not

claimed that each individual kickback payment amounted to $5,000.

      The magistrate judge recommended that I deny Dunlap’s motion to dismiss

counts 51-74. Neither party has cited any authority that is directly on point.

Having conducted a de novo review, I agree with the magistrate judge’s analysis of

the statute and applicable case law.

      For these reasons, it is ORDERED that Defendant’s Objections to the

Report and Recommendation (ECF No. 130) are OVERRULED, the magistrate

judge’s Report and Recommendation (ECF No. 111) is ACCEPTED, and the

defendant’s Motion to Dismiss (ECF No. 91) is DENIED.

                                                  ENTER: January 2, 2013

                                                  /s/ James P. Jones
                                                  United States District Judge

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